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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

      ORCHESTRATE HR, INC. and                                                                  §
      VIVATURE, INC.                                                                            §
                                                                                                §
                   Plaintiffs,                                                                  §
                                                                                                §
      v.                                                                                        §      CIVJL ACTION NO. 3:13 CV-2110-P
                                                                                                §
      AtWRONY L. TROMBETTA, THE                                                                 §
      BORDEN-PERLMAN INSURANCE                                                                  §
      AGENCY, INC., KELLY MYERS,                                                                §
      and DAVE ICENROWER,                                                                       §
                                                                                                §
                   Defend:mts.                                                               ...§ ....


                                 PLAINTIFFS' THIRD AMENDED COMPLAINT


              Plaintiffs Orchestrate HR, Inc. ("OrchestrateHR") and Vivature, Inc. ("Vivature")

     (collectively, "Plaintiffs or "Orchestrate") file this, their Third Amended Complaint and

     respectfully show as follows:

                                                                                            PARTIES                                      ;:-

                                                                                                                                         i-
              1.        Plaintiff OrchestrateHR is a Texas corporation which may be contacted by and

     through its attorney, Jose M. Portela, THE BECKHAM GROUP, 3400 Carlisle, Ste. 550, Dallas, Texas

     75204.

              2.        Plaintiff Vivature, Inc. is a Texas corporation which may be contacted by and

    through its attorney, JoseM. Portela, THE BECKHAM GROUP, 3400 Carlisle, Ste. 550, Dallas, Texas

    75204.

              3.        Defendant Anthony L. Trombetta ("Trombetta") has answered and appeared.




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            4.      Defendant The Borden-Perlman Insurance Agency, Inc., ("BP") has answered and

     appeared.

            5.      Defendant Kelly Myers ("Myers") is a resident of the State of New Jersey. Sandy

     Liser at Naman Howell Smith&Lee, PLLC, Fort Worth Club Building, 306West7th Street, Suite

     405, Fort Worth, Texas 76102-4911 has agreed to accept service.

            6.      Defendant Dave Icenhower ("Icenhower") is a resident of the New Jersey. Sandy                 .~" ..



     Liser at Naman Howell Smith &Lee, PLLC, Fort Worth Club Building, 306West7th Street, Suite

    405, Fort Worth, Texas 76102-4911 has agreed to accept service.

                       _______________ JI:._ __ J'QR1SDICTI9N & ~NUE
                                                                                                                  ~
            7.     This Court has jurisdiction over this matter as the amount of the dispute is within   ~::;::
                                                                                                                  ~j-

    the jurisdictional limits of this Court. This Court has jurisdiction over Trombetta pursuant to

    section 17. 042(2) of the TEXAS CIVJL PRAC11CES AND REMEDIES CODE; furthennore, during his

    employment at Orchestrate, Trombetta purposely availed himself of the laws of the State of Texas

    by contacting numerous clients and potential clients in Texas and communicating with them in an

    attempt to obtain their business for Orchestrate and then subsequently work for them. Trombetta

    attended meetings in Dallas, Texas and knew that he was signing contracts with a company based

    in Dallas, Texas and obtaining that company's confidential and proprietary infomrntion.

    Trombetta, Myers, and Icenhower have had numerous contacts with Texas, including but not

    limited to visits, meetings, emails, and phone calls. The State of Texas has a vested interest in

    business dealings involving its own corporations. This Court has jurisdiction over BP pursuant to

    section 17.042(2) of the TEXAS CIVJL PRACTICES AND REMEDIES CODE. Furthe1more, BP claims

    to be licensed in all 48 continental states of the United States, which would include the State of

    Texas. Further, at least in the past, BP maintained an office in Houston. BP made visits to




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                           Orchestrate's Dallas, Texas office, and BP worked directly with Orchestrate for certain of

                           Orchestrate's clients.

                                         8.   VenueisproperinDallas County, Texas pursuant to§§ 15.002(a)(l), 15.005 ofthe

                          TEXAS CIVIL PRACTJCES AND REMEDIES CODE because all, or a substantial part of, the events or

                          omissjons giving rise to the claims occurred in Dallas County, Texas.

                          Summan; of the Disp1.J.te

                                        9.    \Vhen this suit was filed, it was focused on stopping a fonner employee, Trombetta,

                          from the outright breach of his contracts with Orchestrate including exploiting Orcbestrate's



                         protecting, for Trombetta's and his new employer's own gain.

                                        10.   Orchestrate is well-known throughout the collegiate sports medicine industry, and

                         Orchestrate has spent sit:o'Ilificant money and tin1e developing its reputation and fostering the

                        goodwill it enjoys.

                                        11.   In order to obtain employment with Orchestrate, Trombetta agreed to sign an

                         extensive Confidentiality Agreement under which Trombetta agreed to protect Orchestrate's

                        Confidential Information. By signing the Confidentiality Agreement, Trombetta agreed, among

                        other tlnngs, not to disclose Orchestrate's Confidential Information; not to use Orchestrate's

                        Confidential lnfonnation commercially; and not to divulge Orchestrate' s Confidential Information

                       to any third parties. Trombetta also executed a Non-CompeteAgreementwit.11 Orchestrate (''Non-

                       Compete").

                                        12.   Pursuant to the Non-Compete, Trombetta is prohibited for three years after his

                       termination from Orchestrate from pursuing any of Orchestrate's clients as Trombetta's own

                      potential prospects. Trombetta was a highly compensated employee of Orchestrate's who had



                      PLAINTIFFS' THIRD AMENDED C01\1PLAINT                                                                     :PAGE3
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     access to a substantial amount of Orchestrate's Confidential Infonnation from July 2011 until

     approximately April 2013, when Trombetta voluntarily terminated his employment.              When

     Trombetta left Orchestrate, Orchestrate remil.1ded Trombetta in writing of his obligations as laid

     out in the Confidentiality Agreement and the Non-Compete, sent Trombetta copies of these

     Agreements, and urged Trombetta to provide his new employer with copies as well.

            13.     As a result of the testimony obtained from BP's corporate representative on March                 ::
                                                                                                           ii;
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                                                                                                                    ..
     19, 2015 ("the Deposition"), Orchestrate has now learned that not only did Trombetta provide          1;·•,:   ~~
                                                                                                           i;:      *1
     copies of those agreements to BP, but that BP consulted with an attorney, Phil Griffin, about them.   i'          :
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     former insurance clients of Orchestrate."                                                              ~



            14.     However, less than a month later, as a result of checking Trombetta' s Orchestrate

     e-mail address, Orchestrate discovered that Trombetta and BP were using Orchestrate's

    Confidential Information, which Trombetta obtained during his employment with Orchestrate and

    that Defendant's were openly violating Trombetta's contracts with Orchestrate and intentionally

    pursuing Orchestrate's clients. Trombetta and BP should have known hanu to Orchestrate would

    result from their actions.

            15.    As discovery has progressed, this suit has evolved.         In the Deposition, BP

    confim1ed that it had a verbal agreement with Orchestrate on certain matters which specifically

    related to providing insurance services to the schools which are the subject matter of the lawsuit.

    As a result of facts learned during discovery it has been detennined that Trombetta and BP were

    colluding against Orchestrate, even while Trombetta was still employed by Orchestrate. Further,

    BP breached its contract with Orchestrate and has been attempting to steal Orchestrate's clients

    and even gone so far as to allowing third parties to cause Orchestrate's clients to breach their



    PLAINTIFFS' THIRD AMENDED COMPLAINT                                                         PAGE 4
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     contracts with Orchestrate. Further, as a result of testimony from the Deposition, it appears that

     BP has breached its verbal contract with Orchestrate by 110t paying Orchestrate amounts owed

     from BP earning brokerage cormnissions from certain clients.

             16.     \Vhile discovery is far from over, the facts to date show that this scheme between

     Trombetta and BP was much more sinister than :first anticipated and that the resulting damages

     will be in the millions.

    Summar\'. of InfoJ!CtiY.£. Relief Reg uested

            17.      Orchestrate is requesting that the court enjoin Defendants from the following: (1)



    clients of Orchestrate; (3) defaming Orchestrate; (4) tortiously interfering with Orchestrate's
                                                                                                                           ..
                                                                                                                            ~

                                                                                                                           \..
    contracts; (5) tortiouslyinte1feringwith Orchestrate's prospective business relations; (6) failing to

    return Orchestrate's Confidential Information and property which Trombetta had in his possession

    or control as of the date of his tennination from Orchestrate; (7) continuing to breach the

    Confidentiality and Non-Compete Agreements; and (8) destroying any evidence.

            18.     If Defendants are not enjoined from the above actions, Orchestrate will be

    inunediately and irreparably harmed.        By Defendants' use of Orchestrate's Confidential

    Information for their own commercial purposes, Defendants are destroying Orchestrate's

    reputation, goodwill, and customer confidence. Further, the financial impact on Orchestrate due

    to the loss of business relationships and sales simply cannot be measured with any degree of

    certainty. It is impossible or inadequate to measure Orchestrate's damages from Defendants' use

    and disclosure of Orchestrate's confidential infonnation or Trombetta's breaches of the Non-

    Compete Agreement All of this constitutes irreparable hann to Orchestrate.




    l'LAINTIFFS' TIIIlID AMENDED COMPLAINT                                                      PAGES
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            19.     Orchestrate hereby incorporates all affidavits and attachments to those affidavits

     attached to its Original Petition, Request for Temporary Restraining Order and Request for

    Temporary Injunction. Cunently, an Agreed Temporary Injunction is in effect. It is believed that

     Defendants have vfolated that Temporary Injunction.

                                              I1L      FACTS.

     Orchestrate's business

            20.     Orchestrate is a Texas corporation based in Dallas, Texas. See Affidavit of Mouzon

     Bass, III, Exhibit 1, at '\14. Orchestrate has spent significant money and time developing its




     company assisfing colleges throughout the United States with insurance-related products for their

     athletes, but Orchestrate has developed highly unique and proprietary products, services, and

     marketing concepts which have directly led to Orchestrate's singular success and the goodwill

     Orchestrate enjoys in the sports medicine industry. Id.

            21.     The success of Orchestrate's business is largely a result of Orchestrate's research

     and development, marketing plans, pricing models, and other proprietary marketing and financial

     infonuation, which Orchestrate has created through its own hard work over several years, at a cost

     exceeding hundreds of thousands of dollars. Id.

            22.     Orchestrate has been able to provide its products and services competitively by

     careful pricing, market analysisi and gathering and analyzing data about its customers. Id. This

     infonnation is highly unique and confidential.      Id.    Orchestrate cannot put a price on the

     relationships it has developed with its customers and the far-reaching effects of Defendants'

     exploiting for their own benefit infonnation about the very processes that have given Orchestrate

     a competitive advantage in the marketplace over last several years. Id.



     PLAINTIFFS' THIRD AMENDED COMPLAINT                                                       PAGE6
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                                                   Trombetta was a_highJv-compe~sated empio,·ec who got greedy

                                                           23.    Trombetta became an employee of Orchestrate's on or about July 13, 2011. Id. at

                                                   15 and Ex. A to Ex. 1 at p. 2. In exchange for a lucrative compensation and trairring package and

                                                   the right to access Orchestrate's Confidential Information, Trombetta agreed that, for three years

                                                   after Trombetta's voluntary or involuntary tennination, Trombetta was prohibited from pursuing

                                                   any client of Orchestrate's as a potential prospect ofTrombetta's or his future employer's, directly

                                                  or indirectly. Ex. 1 atif5 and Ex. A to Ex. 1 atif4. Trombetta is specifically prohibited duringtbis
                                                                             '
                                                   three-year period from directly or indirectly attempting to change any agreement between a client



                                                  all files, notes, electronic memoranda, or other information about any of Orchestrate's clients

                                                  i-emained the sole property of Orchestrate and could not lie removed or copied for any purpose

                                                  unrelated to Trombetta's employment with Orchestrate without Orcheslrate's express, written,

                                                  c-0nsent. Ex. 1 at if5 and Ex. A to Ex. 1 at ir6. Orchestrate never gave Trombetta permission to

                                                 use any of its clients' information for any purpose other than Trombetta's securing clients for

                                                 Orchestrate during his employment. Ex. 1 at if5.

                                                          24.     Also on or about June 13, 2011, Trombetta executed a Confidentiality Agreement,

                                                 which provided that Trombetta (1) would hold all Confidential Infonnation received from

                                                 Orchestrate in strict confidence and would not disclose or divulge either directly or indirectly any

                                                 Confideniial Infonnation to any third party unless first authorized to do so in writing by

                                                 Orchestrate; (2) would not reproduce any Confidential Infonnatfon nor use any Confidential

                                                Infom1ation commercially or for any purpose other than theperfonnance of Trombctta's duties for

                                                Orchestrate; and (3) upon his te1mination, immediately deliver to Orchestrate all Confidential

                                                Infonnation in his possession or control, along with all of Orchestrate's property in his possession



                                               PLAINTIFFS' THIRD AMENDED COMPLAINT                                                            PAGE7
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     or control, including any files, notes, electronic memoranda, client infonnation, drawu1gs,

     equipment, and materials received from Orchestrate or originating from his activities for

     Orchestrate. Ex. 1 at 'j16 and Ex. B to Ex. 1 at '1[2.

            25.         Orchestrate never gave Trombetta pennission to disclose any Confidential

     Infonnation to any third parties, specifically not to Defendant BP. Ex. 1 at '1[6.

            26.        "Confidential fufonnation" is defined as any infonnati?n of any kind, nature, or           '
                                                                                                                  ~-··




     description concerning any matters affecting or relating to Trombetta's services for Orchestrate,

     the business or operations of Orchestrate, and/or the products, plans, pricing models, customer



     Confidential fuformation may also include information covered under the privacy and security
                                                                                                                  r-:
    rules provisions of the Health Insurance PortabHity and Accountability Act of 1996 (HIP AA).

    Ex. B to Ex. 1 at if2.

            27.      On or about April 8, 2013, Trombetta informed Orchestrate that he was resigning

    from Orchestrate but that he planned to continue to sell insurance to college athletic departmentS.

    Ex. 1 at ~18 and Ex. C to Ex. 1. Orchestrate responded to Trombetta's abrupt resignation and

    asse1tion that Trombetta would continue to work in the same market as Orchestrate by reminding

    Trombetta of bis continuing obligations to Orchestrate regardlng Orchestrate's Confidential

    Information and Trombetta's Non-Compete At,>recment.           Ex. 1 at ~8 and Ex. D to Ex. 1.

    Orchestrate attached copies of Trombetta's Non-Compete Agreement and Confidentiality

    Agreement and requested that Trombetta provide copies of those agreements to his new employer.

    Ex. 1 at jj8 and Ex. D to Ex. L




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             28.     Shortly thereafter, Orchestrate learned that Trombetta was working for Defendant

     BP, an agency that provides insurance products to the same target market as Orchestrate as a result

     of checking Trombetta's Orchestrate email inbox. Ex. 1 at ~8.

     Trombetta goes to work for a competitor,- BP; and 'fTombetta and BP use Otchest:rate's
     Confidential Irit'onnation to ste~1 Orchestrai~;;·_~li~uts - ·                        ·
             29.     Even though less than two months have passed since Troinbetta resigned from

     Orchestrate, evidence shows that he is already fragrantly violating the Confidentiality and Non-

    Compete Agreements. Id. at il9. These violations appear to be .intentional and targeted at

    Orchestrate's clients with whom Trombetta had contact while he worked for Orchestrate. Id.

            30.      On or about May 7, 2013, Orchestrate discovered that Trombetta and BP were

    pursuing Orchestrate's client Glenville State University as a potential client of BP's. Id. and Ex.

    E to Ex. 1, e-mail exchange between Beth Andrews and Trombetta re: Glenville State. Trombetta

    had worked with Glenville State University while he was employed with Orchestrate. Ex. 1 at "if9

    and Exs. F-H to Ex. 1, e-mail exchanges between Trombi:tta and Brent Walters re: Glenville State.

            31.     Also on or about May 15, 2013, Orchestrate discovered that Trombetta and BP were

    preparing to pursue another client of Orchestrate's, Eastern Kentucky University, as a potential

    client of BP's. Ex. 1 at "if9 and Ex. I to Ex. 1, e-mail exchange between Trombetta and David

    Green re: Eastern Kentucky University. Trombetta had also worked with Eastern Kentucky

    University while he was employed with Orchestrate, and Orchestrate reasonably believes that

    Trombetta intends to pursue Eastern Kentucky University as a client of BP' s. Ex. 1 at il9 and Exs.

    J-L.

    'l;'_!o~bett'~ breaches the Confi~ential,lt:'~_ Agreenielt!

            32.    AI:, stated above, under the Confidentiality Agreement, among other things,

    Trombetta agreed to (1) hold all Confidential Information in strict confidence and not disclose any


    PLAINTIFFS' THIRD AMENDED COMPLAINT                                                        l'AGE9
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          Confidential Infonnation to any third party; (2) not reproduce any Confidential Information or use

          any Confidential Infonnation commercially for any purpose; and (3) upon his termination,

         immediately deliver to Orchestrate all Confidential Information in his possession or control. Ex.

         B to Ex. 1 at if2.

                     33.               In the course and scope of his employment with BP, the evidence demonstrates that

         Trombetta disclosed Confidential Information of Orchestrate's regarding Orchestrate's clients and

         Trombetta's. services for Orchestrate, specifically relating to Glenville State University and

         Eastern Kentucky University. Ex. 1 at ~110. Furthcnnore, Trombetta is using Orchestrate's

    .. Confid<;:1:1Ji.!!l fufQfffi<itim1 for---a commercial       :pu!J>ose in connection with his employment vvith BP,
                                                     ·--··-··--·-- --- -----··-·----·-···- -- ···-·- ···------ ---·--···
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         in flagrant disregard of the Confidentiality Agreement. Id. Additionally, the fact that Trombetta

         has the ability to pursue Orchestrate's client base as prospective clients ofBP's demonstrates that

         Trombetta has retained Confidential Infornrntion in violation of the Confidentiality Agreement and

         that Defendants are currently making use of Orchestrate's Confidential Information in a manner

         extremely adverse to Orchestrate. Id. If Defendants are allowed to continue this illicit campaign,

         not onlY: will Orchestrate suffer harm in the form of financial damages from the loss of its highly-

         valued Confidential Infonnation, but informali9n protected by HIP AA may be disclosed, which

         would subject Orchestrate to liability and subject countless other individuals to having their

         personal medical records revealed. Id.

     •
         Trombett~ with IlP's knowledge and consent. breaches tl1e Non-Compete Agreement
              -·..   ·-;-·   ·-   ••                •      •        '   ~.   _.,   • ·--   •   · · - •• ·_.·      +           -·     •    -




                     34.               As stated above, under the Non-Compete Agreement, Trombetta agreed tha~ for

         three years after Trombetta's tennination, Trombetta was prohibited from pursuing any client of

         Orchestrate as a potential client ofTrombetta's or his future employer's, directly or indirectly. Ex.

         1 at ~11; Ex. A to Ex. 1 at if4. Trombetta is specifically prohibited during this three-year period



     PLAINTIFFS' THilID AMENDED COl\1PLAINT                                                                                              PAGElO


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                                                            from directly or indirectly attempting to change any agreement between a client of Orchestrate's

                                                            arid any insurer. Ex. 1 at ifl 1; Ex. A to Ex. 1 at iT4.

                                                                    35.     Trombetta voluntarily tenninated his employment with Orchestrate on April 8,

                                                            2013. See Ex. C to Ex. 1. Accordingly, Trombetta is prohibited from pursuing Orchestrate:'s

                                                            clients for three years from that date, or until April 8, 2016. ·Ex. 1 at iTll.

                                                                   36.     The evidence demonstrates that almost itrunediately upon his resignation,

                                                           Trombetta began pursuing Orchestrate's clients in attempt to obtain their business for BP. Id.

                                                           Specifically, Trombetta began pursuing Glenville State University and Eastern Kentucky                                                                              ;·,_:



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                                                           work while he was employed by Orchestrate, within a month of his resignation. Id. and Exs. E-L

                                                           to Ex. I.

                                                                   37. _   Further, Trombetta con£nned in his deposition that he had contacted a laundry list

                                                           of clients which were former clientS of Orchestrate for the purpose of obtaining business from

                                                           them for BP. This is specifically the type of activity that BP's own lawyers told BP that would

                                                           subject BP to liability to Orchestrate as was admitted at the Deposition.

                                                           BP and Trombetta defame Orchestrate to its mostiiuriortant clients, atmcking 01;chestrate's
                                                           integrity and crediblllfy - -           - - · · -· . - .         .- . - - .             -

                                                                   38.     Orchestrate has learned that, BP and Trombetta have engaged in a concerted effort

                                                           to defame Orchestrate to its client base, targeting Orchestrate's most important clients. Ex. 1 at




                                                                  39.      Specifically, multiple BP employees, and, upon information and belief, Trombetta,

                                                           have communicated a variety of false and misleading statements to numerous universities

                                                           Orchestrate services, including Texas Christian University, when BP and Trombetta should have

                                                           known that those statements were false. Id.


                                                       .PLAINTIFFS' THUID AMT!NDED COMPLAINT                                                                                     !>A.GE 11
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            40.     These fa1se and misleading statements include the following: (1) Orchestrate is not

    timely processing insurance claims; (2) Orchestrate is not providing the discounts it is promising;

    (3) Orchestrate is using incorrect insurance fonns; and (4) insurers are not "allowed" to use

    Orchesh·ate. Id.

            41.     Certain of Orchestrate's clients have repo1ted these statements to Orchestrate and

    expressed uncertainty about renewing their contracts with Orchestrate. Id. Orchestrate has been

    forced to expend significant time and effort addressing these-false and misleading statements in an

     effo1i to assuage their clients' concerns, and Orchestrate's efforts may ultimately be in vain. Id.



    defame Orchestrate; however, based on the response of Orchestrate's clients who have expressed

    their concems to Orchestrate regarding their accusations, the impact on Orchestrate' s business as

     a result of Defendants' false statements will be far-reaching and substantial. Id.

            43.      Defendants' defamatory accusations of Orchestrate to its client base have the

    immediate effect of destroying Orchestrate's reputation, goodwill, and customer confidence, as

     Orchestrate's business relationships may be permanently damaged. Id. at jfl3. Furthermore,

    Defendants' actions will have devastafing financial effects on Orchestrate in the form of hundreds

     of thousands of dollars in lost sales. Id.

                             IV.     fA,CTS_TJNCQVERED IN llISCOVERY

            44.      A.s a result of the Cou..'i ordered depositions and document productions, Orchestrate

    has been able to establish the following:

                     a)     Trombetta kept some of Orchestrates confidential infonnation;

                     b)     As soon as Trombetta decided he was leaving Orchestrate, Trombetta sent
                            some of Orchestrate's confidential infonnation to his own private email;

                     c)     Trombetta helped BP secretly obtain access to confidential and highly
                            sensitive information that Orchestrate possessed;

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                      d)     In order to cover his tracks, Trombetta deleted months' worth of emails
                             from his Orchestrate email address;

                      e)     Trombetta used false pretenses to justify his departure from Orchestrate;

                      f)     While still employed by Orchestrate, Trombetta was assisting BP in
                             competing with Orchestrate;

                     g)      In frutherance of its own business purposes, BP used Orchestrate's
                             confidential information to Orchestrate's detriment and without
                             Orchestrate's permission;

                     h)      While BP had promised to not try to steal Orchestrate's clients, in order to
                             induce Orchestrate into a contract and business relationship, BP violated
                             that promise;

                     i)        BP employees, operating in the course and scope of tlieir employment, have
                     ··------- colluded-with--T-rombetta--in--Trombetta!s--breach-of-his---contracts-with------
                               Orchestrate;                                                                       \._:



                     j)      BP employees have taken action, or failed to take action when they shouJd
                             have, knowing that their action/inaction would lead to ce1tain colleges
                             breachlng their contracts with Orchestrate;

                     k)      BP has violated its oral contract with Orchestrate.

                     1)      Myers lied at his first deposition when he denied that BP had made any
                             negative conm1ents about Orchestrate to Orchestrate's clients.

                     m)     At his second deposition, Myers was forced to admit that he and kenho\ver
                            had defamed Orchestrate to at least 5 of Orchestrate's clients.

                     n)     Affidavits from 2 other former Orchestrate clients show that Myers is still
                            trying to cover up ma.ny of the defamatory statement he made to other
                            fom1er Orchestrate clients,

                    o)      Before this suit was even filed, BP was in possession of Trombetta's
                            contracts with Orchestrate and hired a law finn to tell them what work
                            Trombetta could do for them. Even after being told what Trombetta could
                            not do, BP encouraged and allowed Trombetta to violate his contracts with
                            Orchestrate.

     Given that only limited discovery has been done to date, it is clear that this is just the proverbial

     "tip of the iceberg" vvhen it comes to uncovering the untoward campaign of deceit that both

     Trombetta and BP have pursued.


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                                                                                                                                                                                          :      I




                                45.    At the first deposition, BP's corporate representative (Myers) denied that any

                   negative comments had been made by BP about Orchestrate. This was an outright lie. Prior to the
                                                                                                                                                                                          ~: '


                  _mediation conducted in December of last year, Orchestrate secured 2 affidavits from 2 differe1it

                   individuals at 2 different schools which confirmed that both Myers and Icenhower bad made

                   multiple disparaging statements about Orchestrate. Exhibits 2 and 3. As can be seen from these

                   exhibits, not only were BP, Myers, and Icenhower defaming Orchestrate, but that defamation

                   directly Tesulted in Orchestrate losing the business with both of those schools.

                               46.    Even more telling is the testimony obtained at the Deposition on this subject matter.

                 ___Myers, _sitting on_behalf_of B~,_has_now.ad.n1itted_.th~tJ:>9Jllh~_ 1J:nd Xc~@_o_~~r s_ajd '~li~ _t1l~g£' ~o

                   at least 5 other clients of Orchestrate. Truth be told, Orchestrate believes that the evidence will

                   show that BP, Myers, Trombetta, and/or Icenhower defamed Orchestrate to a multitude of other

                  schools and are still hiding their improper acts.

                                                          V.       CAUSES OF ACTION

                  A.          BREACH OF THE CONFIDENTIALITY AGREEMENT~TROMBETTA

                              47.     Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

                  herein.

                             48.      Orchestrate and Trombetta are parties to a valid and enforceable contract-the

                  Confidentiality Agreement

                             49.      Orchestrate fully performed, tendered performance-, or was excused from

                  performing all of its obligations under the Confidentiality Agreement, and all conditions precedent

                  to Orchestrate's recovery have been perfonned.

                             50.      As set forth in detail above, Trombetta has materially breached the Confidentiality

                  Agreement by, among other fuings, (1) not holding all Confidential fofonnation fa stiict

                  confidence when he should have lmown harm to Orchestrate would result; (2) disclosing and

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      divulging Confidential Infonnation to a third party when he should have known ha1m to

      Orchestrate would result; (3) reproducing Confidential Infonnation when he should have known

     harm to Orchestrate would result; (4) using any Confidential Infonnation commercially for a

     purpose for other than the performance of Trombetta' s duties for Orchestrate when he should have

      known harm to Orchestrate would result; and (5) not immediately delivering to Orchestrate all

      Confidential Information and property of Orchestrate in his possession or control upon his

     termination from Orchestrate when he should have known harm to Orchestrate would result.

               51.          Trombetta's breaches of the Confidentiality Agreement have caused Orchestrate to

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      B.       BREACH OF THE NON-COMPETE AGREEMENT-TROMBETTA
                                                                                                                                                                            ,-:.
                                                                                                                                                                            ·:·~

               52.          Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

     herein.

               53.          Orchestrate and Trombetta are parties to a valid and enforceable contract-the Non-

      Compete Agreement.

               54.          Orchestrate fully perfonned, tendered perfonnance, or was excused from

      perfonning all of its obligations under the Non-Compete Agreement, and all conditions precedent

      to Orchestrate's recovery have been perfonned.

               55.          As set forth in detail above, Trombetta has materially breached the Non-Compete

      Agreement by, among other things, (1) pursuing a client of Orchestrate as a potential client of

      Trombetta's or his future employer's, directly or indirectly, or considering a client of Orchestrate

      as a potential prospect of Trornbetta's or his future employer's, when he should have known hann

      to Orchestrate would result; and (2) directly or indirectly attempting to change any agreement




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     between a client ofOrchestrate's and any insurer, when he should have knownhann to Orchestrate

     would result.

                          56.                         Trombetta's breaches of the Non-Compete Agreement have caused Orchestrate to

     suffer injury.

     C.                   TORTIOUS INTERFERENCE WITH CONTRACf-TROMBETTA,                                         BP, lCENIIOWER AND
                          MYERS

                           57.                        Orchestrate incorporates by reference all foregoing paragraphs as if fully set forfu

     herein.

                           58.                        Orchestrate has existing contracts with various colleges throughout the United

     Trombetta, BP, and Myers willfully and intentionally interferecfw1tb. these contractswnentney----·--·-----

     should have known of these contracts' existence. Those actions include, but are not limited to,

     exploiting Orchestrate's Confidential and proprietary information to pursue these contracts as

     prospective business of BP in the course ofBP's business. Further, Trombetta, BP, Icenhower a11d

     Myers have engaged in a campaign designed to cause those colleges to breach their contracts with

     Orchestrate by not sending certain medical insurance claims to Orchestrate. BP's and Trombetta's

     actions proximately caused damages to Orchestrate by making the performance of its contracts

     with its clients more burdensome or difficult or impossible.

     D.                   TORTIOUS INTERFERENCE \VITH PROSPECTf\lEBUSINESS RELATIONS"TROMBETTA, BP,
                           lCENIIOWER AND MYERS

                           59.                        Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

     herein.

                           60.                        There was a reasonable probability that Orchestrate and certain colleges wouldhave

     entered into business relationships but for Trombetta's, BP 's, Icenhower's, and Myers' malicious

     intervention by way of exploiting Orchestrate' s Confidential and proprietary information to pursue



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     these contracts as prospective business of BP in the course of BP,s business. Trombetta, BP,

     Icenhower, and Myers acted with a conscious desire to prevent Orchestrate's contractual

     relationships from occurring or with knowledge that the interference was certain or substantially

     likely to occur as a result of their conduct, and there was no privilege or justification for their

     actions. Orchestrate has suffered actual ham1 or damages as a result of Defendants' interfernnce.

     E.        DEFAMATION-BP, MYERS, ICENIIOWER, AND TROl\IBETTA

               61.   Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

     herein.

                                                                                                            ; :


     had a joint business interest with Defendants when Defendants should have known ihat those

     statements were false and misleading. Specifically, these statements were made in the course of

     BP's business and included the statements contained in Exhlbits 2 and 3. Further, BP has admitted

     at the Deposition that Myers and Icenhower said bad things to at least 5 more schools which were

     clients of Orchestrate.

               63.   The statements above were made by Defendants in the course of their business at

    BP, while Defendants were perfonning insurance services, and they were made.to clients in whom

    BP and Orchestrate had joint business interests. Furthermore, Defendants should have known that

    these statements were false and misleading, and a reasonable party would have recognized that

    their actions would have created ru1 umeasonable risk that a defamatory statement ·would have

    been conununicated to a third party. Orchestrate has been damaged as a result.

    F.        NEGLIGENCE-BP, MYERS, ICENHOWER AND TROMBETTA

               64.   Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

    herein.



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                              65.         BP, Myers, Icenhower, and Trombetta owed Orchestrate a duty of care with respect

                   to their use of Orchestrate' s Confidential and proprietary information. When Defendants, while

                   performing duties related to the conduct of BP' s business, disclosed Orchestrate' s Confidential

                   and proprietary information t~ third pa1ties for their own benefit, Defendants breached their duty

                   of care. These breaches were conducted by BP employees who were operating well within the

                   course and scope of their employment. These breaches were the proximate cause of damages to

                   Orchestrate.       -

                   G.        BREACII OF CONTRACT- BP

     -------····-·----66.---0.J.:chestrateJncorµorates__b_y_r.eferen~e allJ_Qr.yg_Qi11g_p_?~~phs_~s_iffu!!y_~et forQ.1_________.__ _

                   herein.
                                                                                                                                                        i:=.-

                             67.      BP has con.finned that it entered into an agreement with Orchestrate that BP would

                   not steal Orchestrate's clients or use Orchestrate's confidential information to Orchestrate's

                   detriment. This was a material te1m to the agreement between Orchestrate and BP. As a result of

                   this contract, Orchestrate not only shared certain clients fur certain products with BP but also

                  Orchestrate gave BP certain confidential information, when he should have known hann to

                  Orchestrate would result As a result of this breach, Orchestrate has been damaged.

                             68.     At the Deposition, BP confinned that as a result of the oral agreement it had with

                  Orchestrate that BP was supposed to pay a percentage of ce1tain commissions to Orchestrate. BP

                  has failed to do so and therefore has breached its ora1 agreement with Orchestrate. As a result of

                  this breach, Orchestrate has been damaged.

                  H.         UNFAIR COMI>ETITION- l3P

                             69.     Orchestrate incorporates by reference all foregoing paragraphs as ·if fully set forth

                  herein.



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                   70.       Orchestrate has spent significant time, labor, skill, and money in creating and

         gathering certain confidential infonnation. BP's use of that confidential information in the course

         of BP's business gives BP a special advantage in that BP was burdened with little or none of the

         expense incurred by Orchestrate in relation to this confidential information. BP should have

         known that harm to Orchestrate would result from its actions. As a result, BP' s actions have caused

         commercial damage to Orchestrate.

         I.        FRAUD- BP AND MYERS

                   71.       Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

 ···· ... . hei:ein.. - --
                                                                                                                                  ;.;:~   f:=:
                             As described above, BP and Myers have made misrepresentations to Orchestrate,                        ~t
                   72.
                                                                                                                                  i~~     ]·:
         specifically but not limited to representing to Orchestrate that its confidential information would
                                                                                                                                  i;.:

         not be used against Orchestrate and that BP would not attempt to steal Orchestrate's clients. Those

        misrepresentations were made at a time when BP and Myers knew they were false. Those

         misrepresentations were relied upon by Orchestrate to Orchestrate's detriment. AB a result of

         relying upon these misrepresentations, Orchestrate has been damaged.

         J.        NEGLIGENT MISREPRESENTATION- BP AND MYERS

                   73.       Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

         herein.

                   74.       As an alternative pleading, Orchestrate asserts that BP and Myers made

         representations as described above in the course of BP's business and h1 a transaction where BP

         had a pecuniary interest. BP and Myers supplied this false infonnation to Orchestrate intending

         for Orchestrate to use it as part of their business in entering into fill agreement with BP. BP and

         Myers did not exercise reasonable care or competence in communicating the i11fom1ation.



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             Orchestrate relied on the information and assurances made by BP. As a result of that justifiable

             reliance, Orchestrate has suffered pecuniary loss.

             K.        UNJUST ENRICHl\iENT- BP

                       75.    Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

             herein.

                       76.    As an alternative pleading, Orchestrate believes that BP has obtained a benefit from

             their illicit actions towards Orchestrate in the course ofBP's business. BP is not entitled to retain

             this benefit which resulted from its own improper actions.

·-·--·-·· -- - 1,.----BREAGH OF-F.JDUGIARYDlJTY,,_'f.ROMBETIA--- --~---·-- . ---·--··--·--·-··                                     ·------------

                       77.    Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

            herein.

                       78.   As an employee of Orchestrate, Trombetta owed Orchestrate a fiduciary duty. Ai;

            described above, Trombetta has violated that fiduciary duly in the course of performing duties

            related to the conduct of BP's business, when he should have k11own harm to Orchestrate would

            result. As a result ofTrombetta's actions, Orchestrate has suffered damage.

            M.         AIDrnG AND ABETTING BlillACII OF FIDUCIARY Durr (CONSPIRACY)- BP, ICE:NIIO'WER,
                       AND MYERS

                       79.   Orchestrate incorporates by reference all foregoing paragraphs as if fully set forth

            herein.

                       80.   BP, Icenhower and Myers have been aware of the employee relationship between

            Orchestrate and Trombetta for at least over 2 years. As described above, Trombetta has breached

            his fiduciary duty to Orchestrate. It is apparent from the discovery in this case that BP, Icenhower

            and Myers should have known about Trombetta's :fiduciary duty and his actions and in fact

            participated and supp01ted Trombetta in some of those actions in the course of their business. As


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      a result of Defendants assisting Trombetta in breaching his fiduciary duty, Orchestrate has been

     damaged.

                VI.    APPLICA'l'ION FOR TEMPORARY RES'fRAJNING ORDER AND
                       REQUEST FOR HEARlNG ON TEM:f>ORARY lNJUNCTI.ON
                81.   The purpose of'a temporary restraining order is to preserve the status quo -       the

     last peaceable, non-contested status that preceded the controversy. The issuance of the restraining

     order will preserve the status quo in this matter. Plaintiffs will suffer immediate in·eparable injury

     if Defendants are allowed to continue to freely use and distribute Orchestrate's Confidential

     Information or republish the false statements they have already made to any additional third

     parties.

                82.   Given that these acts appear to be currently ongoing, there is an imminent threat of

     ineparable injury.

                83.   Plaintiffs have demonstrated through its pleadings and evidence attached thereto

     that it will likely succeed on the merits of the case and that it will suffer immediate and irreparable

     injury if Defendants are not immediately enjoined from continuing their wrongful acts. Plaintiffs

     respectfully request the Court to enter an Order :llmnediately restraining Defendants, and all

     persons acting in participation with Defendants, to be cmmnanded to :llmnediately desist and

     restrain from:

                      1)     Using or disclosing Orchestrate's Confidential Information

                      2)    Contacting existing or prospective clients of Orchestrate;

                      3)    Defaming Orchestrate;

                      4)    Tortiously interfering with Orchestrate' s contracts;

                      5)    Tortiously interfering with Orcbestrate's prospective business relations;




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                                                                                             6)     Failing to retum Orchestrate' s Confidential Information and property which
                                                                                                    Trombetta had in his possession or control as of the date of his tennination
                                                                                                    from Orchestrate;

                                                                                             7)     Continuing to breach the Confidentiality and Non-Compete Agreements;
                                                                                                    and

                                                                                             8)     Destroying any evidence which might support any of the claims in this case
                                                                                                    or be likely to lead to the discovery of admissible evidence in this case.

                                                                                                        VII.   REQUEST FOR ATTORNEYS.FEES.

                                                                     84.                     Pursuant to the CIVIL PRACTICES & REMEDIES CODE §38.001, Plaintiffs request

                                              their costs and attorney fees associated with this action. Plaintiffs have been required to retain the

                                              l~~':-~ ?f T_H~ BECKHAM GROUP in order to prosecute their claims. THE BECKHA!vf GROUP has

                                               agreed to charge reasonable and necessary fees in order to pursue Plaintiffs' claims.                                                            ;.




                                                                                                               VIII. :PUNITIVE DAMAGES

                                                                     85.                     Defendants' wrongful actions in connection with their breach of fiduciary duty

                                              were committed knowingly, willfully, with actual Jmowledge, or with actual malice. Accordingly,

                                               Orchestrate is entitled to an award of exemplary damages as provided by Chapter 41 of the Texas

                                               Civil Practice and Remedies Code.

                                                                                                                     IX.     PRAYER

                                                                    WHEREFORE, PREMISES CONSIDERED, Plaintiffs Orchestrate HR, Inc. and

                                              Vivature, Inc. respectfully request that Defendants be cited to appear and answer herein, and that

                                              upon a final hearing, by a Jury, of the cause, judgment be entered for Plaintiffs against Defendants

                                               as follows:

                                                                     (a)                     Any damages suffered by Plaintiffs, specifically but not 1imited to punitive
                                                                                             damages;

                                                                     (b)                     All Pre-Judgment and Post-Judgment Interest as allowed by law and contract;

                                                                     (c)                     Costs ofCourtandAttomeys' Fees;




                                              PLAINTIFFS' THffiD AMENDED COMFLAINT                                                                                     PAGE22
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          (d)   A Temporary Restraining Order and Temporary Injunction restraining Defendants
                from the actions described above; and

          (e)   Such other and furt-J1er reUe~ at law or in equity, to which Plaintiffs may show
                themselves to be justly entitled.




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                                                                 ·---------------


             DATED: June2, 2015.

                                                                                    Respectfully submitted,


                                                                                    Isl Jose M. Portela

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                                                                                    ATTORNEJ'S FOR PLAINTIFFS


                                                           CERTIF1CATE OF SERVICE
                                                           ,.      - z; -·--   --   -   • --··     . . ·--   --   -,, .




                     I ce1tify that a true and correct copy of the above and foregoing docume1it has been
             delivered to the following parties, pursuant to Fed. R. Civ. P. 5(b)(2)(E), by and through the ECF
             system on this 2nd day of June, 2015.
                                                                                                 /s/ Jose M. Po1tela

                                                                                                 Jose M. Portela


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